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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION
                                                                                            23.3903


SUSAN WRIGHT and
husband JOHN WRIGHT,

       Plaintiffs,

vs.                                                                NO.: 2:07-cv-02503

PROGRESSIVE DIRECT
INSURANCE COMPANY and
MOUNTAIN LAUREL ASSURANCE
COMPANY,

       Defendants.


                 CONSENT ORDER OF DISMISSAL WITH PREJUDICE



       This cause came to be heard on statements of counsel for the parties to the effect that all

matters in controversy have been resolved between Plaintiffs Susan Wright and husband John

Wright and Defendants Progressive Direct Insurance Company and Mountain Laurel Assurance

Company, and upon the request of the parties that this case be dismissed with prejudice as to

Defendants Progressive Direct Insurance Company and Mountain Laurel Assurance Company.

       IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that this case be,

and is hereby, dismissed with prejudice as to Defendants Progressive Direct Insurance Company

and Mountain Laurel Assurance Company. The costs in this matter are assessed against the

Defendants for which let execution issue.

                                                    s/ J. DANIEL BREEN
                                                    UNITED STATES DISTRICT JUDGE

                                                    DATE: February 21, 2008


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APPROVED FOR ENTRY:




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